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UNITED STATES DISTRICT COURT "3." OG pe
MIDDLE DISTRICT OFFLORIDA.....0 l2
TAMPA DIVISION 3'2).2:.0% cour
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UNITED STATES OF AMERICA FLORA
. CASE NO. 3:\4 Ce 363 | 3 n&e
18 U.S.C. § 2422(b)
DAMEON KERK ALLEN
INDICTMENT
The Grand Jury charges:
COUNT ONE

From on or about July 23, 2019, and continuing through on or about July

25, 2019, in the Middle District of Florida, and elsewhere, the defendant,
DAMEON KERK ALLEN,

using a facility and means of interstate and foreign commerce, that is, a cellular
telephone and computer via the Internet, did knowingly attempt to persuade,
induce, entice, and coerce an individual who had not attained the age of 18 years,
to engage in sexual activity for which any person could be charged with a
criminal offense under the laws of the State of Florida.

In violation 18 U.S.C. § 2422(b).
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FORFEITURE

1, The allegations contained in Counts One are incorporated by
reference for the purpose of alleging forfeiture, pursuant to the provisions of 18
US.C. § 2428.

2. Upon conviction of a violation of 18 U.S.C. § 2422(b), the defendant
shall forfeit to the United States, pursuant to 18 U.S.C. § 2428:

a. any property, real or personal, that was used or intended to be
used to commit or to facilitate the commission of such violation; and

b. any property, real or personal, constituting or derived from
any proceeds that such person obtained, directly or indirectly, as a result of such
violation.

3. The property to be forfeited includes, but is not limited to, the
following: Samsung SM-J737T cellphone with serial number R58M320EKLH,
and any other electronic devices used in the commission of the offense.

4. If any of the property described above, as a result of any act or
omission of the defendant:

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
Cc. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or
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e. has been commingled with other property which cannot be
subdivided without difficulty;

the United States shall be entitled to forfeiture of substitute property pursuant to

21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 2428.

 

A TRUE BILL,
Foreperson

MARIA CHAPA LOPEZ
United States Att y

 

 

 

 

ise) M."Thelwell
Assistant United States Attorney

  

 

Amanda L. Riedel
Assistant United States Attorney
Acting Chief, Special Victims Section
FORM OBD-34

August 19

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No.

 

UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division

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THE UNITED STATES OF AMERICA
VS.

DAMEON KERK ALLEN

INDICTMENT

Violations: 18 U.S.C. § 2422(b)

A true bill,

LOL

Foreperson

 

Filed in open court this 20" day

of August, 2019

 

Clerk

Bail $

 

 

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